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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ATAIN INSURANCE COMPANY
220 Kaufman Financial Center
30833 Northwestern Highway
Farmington, MI 48334
                                                  Civil Action No.:
                        Plaintiff,
        vs.

 KAZ TIRE, INC. (trading as KAZ TIRE
 CENTER, INC., an unregistered fictitious
 name)
 2400 E. Somerset Street
 Philadelphia, PA 19134
        and
 KAZEEM NABAVI (trading as KAZ TIRE
 CENTER, a registered fictitious name)
 2400 E. Somerset Street
 Philadelphia, PA 19134

                        Defendants.

                       COMPLAINT FOR DECLARATORY RELIEF

       Plaintiff ATAIN INSURANCE COMPANY (“Atain”), by and through its undersigned

counsel, hereby avers as follows.

                                       INTRODUCTION

       1.       Atain seeks a declaration in this action that no insurance coverage is afforded to

KAZ TIRE, INC. (trading as KAZ TIRE CENTER, INC., an unregistered fictitious name) and

KAZEEM NABAVI (trading as KAZ TIRE CENTER, a registered fictitious name) (collectively

“KAZ Tire”), under an insurance policy issued by Atain to KAZ Tire with respect to an underlying

lawsuit filed by Benjamin Allen (“Underlying Plaintiff”) and Margaret Christoforo (“Underlying

Wife-Plaintiff”) (collectively “Underlying Plaintiffs”), in the Philadelphia County Court of

Common Pleas under Docket Number 210501480 (“Underlying Lawsuit”).
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       2.       Atain issued KAZ Tire a commercial general liability (“CGL”) insurance policy

bearing number CIP320964 for a policy period of October 21, 2018 to October 21, 2019 with

commercial general liability limits of $1,000,000 per occurrence and an aggregate limit of

$2,000,000 for Products/Completed Operations. (“Policy”). A true and correct copy of the Policy

is attached and incorporated by reference as Exhibit 1.

       3.       KAZ Tire seeks insurance coverage under the Policy for the Underlying Lawsuit,

and Atain has declined to defend or indemnify KAZ Tire for the Underlying Lawsuit via

correspondence dated June 28, 2021. A copy of Atain’s June 28, 2021 coverage disclaimer is

attached as Exhibit 2.

       4.       Atain seeks by this litigation to confirm that it has no duty to defend or indemnify

KAZ Tire under the Policy for the Underlying Lawsuit.

       5.       Therefore, a controversy exists between the parties to this action regarding

insurance coverage for the Underlying Lawsuit under the Policy, and an entry of a declaratory

judgment is required to resolve the controversy.

                                         THE PARTIES

       6.       Plaintiff Atain is a Texas corporation with its principal place of business in

Michigan, and it is therefore a citizen of Texas and Michigan.

       7.       Defendant KAZ Tire is a Pennsylvania corporation organized under the laws of

Pennsylvania with its principal place of business located at 2400 E. Somerset Street, Philadelphia,

Pennsylvania 19134, and it is therefore a citizen of Pennsylvania. Upon information and belief,

KAZ Tire trades as “KAZ Tire Center, Inc.,” which is an unregistered fictitious name, and which

is the Named Insured listed in the Atain Policy, and Kaz Tire Center is a fictitious name registered

in Pennsylvania, owned by Kazeem Nabavi.



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       8.       Upon information and belief, Defendant Kazeem Nabavi, trading as KAZ Tire

Center, is a citizen of Pennsylvania.

       9.       Accordingly, Defendants are not residents of Michigan or Texas, and therefore,

complete diversity exists.

                                 JURISDICTION AND VENUE

       10.      Jurisdiction is with this Honorable Court pursuant to 28 U.S.C. § 1332 because of

the citizenship of the parties and the amount in controversy exceeding $75,000.

       11.      Venue is proper in the Eastern District of Pennsylvania under 28 U.S.C. § 1391

because a substantial part of the events giving rise to the claim occurred within this District and

because KAZ Tire’s principal place of business is located in this judicial district.

                                THE UNDERLYING LAWSUIT

       12.      Underlying Plaintiffs initiated the Underlying Lawsuit on May 17, 2021, by filing

a Complaint against Clark Material Handling Company, Forklift LP Corporation f/k/a Clark

Material Handling Company, CSI Material Handling, Inc., ToyotaLift Northeast, LLC, Swiftlink,

Inc., P.J. Fitzpatrick, LLC, KAZ Tire, John/Jane Does (1-50) (Fictitious), ABC Corporations (1-

50) (Fictitious), and John/Jane Roes (1-50) (Fictitious), and XYZ Corporations (1-50) (Fictitious)

(“Underlying Complaint”). A true and correct copy of the Underlying Complaint filed in the

Underlying Lawsuit is attached as Exhibit 3.

       13.      The Underlying Complaint alleges that Underlying Plaintiff was injured on May

22, 2019, when he attempted to “demount” a tire and pneumatic innertube from a forklift split rim

wheel assembly. (See Ex. 3 ¶¶ 1-2.)




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        14.      The Underlying Complaint alleges that a split rim wheel assembly is a type of

vehicle wheel that consists of two parts bolted together to hold the tire and innertube in place. (See

id. ¶ 34.)

        15.      According to the Underlying Complaint, loosening the bolts that hold a split rim

wheel assembly together without first deflating the tire assembly can cause the wheel components

to separate with violent force and cause personal injury. (See id. ¶¶ 35-36.)

        16.      The Underlying Complaint recounts that the forklift wheel in question sustained a

punctured innertube. (See id. ¶¶ 3-4.)

        17.      The Underlying Complaint alleges that Underlying Plaintiff was employed by the

forklift owner and brought the wheel to KAZ Tire for repair. (See id. ¶¶ 4, 10.)

        18.      The Underlying Complaint alleges that after the repair, Underlying Plaintiff

brought the wheel back to his employer’s premises, where he attempted to re-mount the wheel

onto the forklift. (See id. ¶¶ 5, 42.)

        19.      According to the Underlying Complaint, “Kaz Tire had improperly mounted the

pneumatic innertube so that the innertube’s inflation valve faced the rear (chassis) side of the split

rim wheel assembly.” (Id.)

        20.      The Underlying Complaint alleges that to fix KAZ Tire’s alleged error, Underlying

Plaintiff attempted to “demount” the tire and innertube off the wheel so that he could correctly

orient the inflation valve to face the front of the split wheel assembly. (See id. ¶ 6.)

        21.      The Underlying Complaint alleges that Underlying Plaintiff was unaware of the

hazard posed by attempting to remove the bolts of a split rim wheel assembly without first deflating

the innertube. (See id. ¶ 7.) Thus, Underlying Plaintiff did not deflate the innertube before he

attempted to unbolt the two halves of the split rim wheel assembly. (See id. ¶ 8.)



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       22.     The Underlying Complaint alleges that when Underlying Plaintiff attempted to

unbolt the two halves, the assembly exploded in his face. (See id.)

       23.     The Underlying Complaint alleges that Underlying Plaintiff sustained a fractured

skull and left eye orbit, a scalp laceration, a comminuted fracture of the left elbow, and a traumatic

brain injury. (See id.)

       24.     The Underlying Complaint sets forth a single count of negligence against KAZ Tire

on the basis that it incorrectly reassembled the forklift “tire and wheel assembly” in such a way

that the inflation valve of the assembly faced toward the rear, chassis side of the wheel. (See id.

¶¶ 91-102.)

       25.     The Underlying Complaint also alleges products liability claims against the

designers, manufacturers and sellers of the forklift. (See id. ¶¶ 60-90.)

       26.     In addition, the Underlying Complaint sets forth a cause of action for loss of

consortium against all the Underlying Action defendants on behalf of Underlying Wife-Plaintiff.

(See id ¶¶ 103-107.)

       27.     The Underlying Complaint alleges that Underlying Plaintiffs seek an amount more

than $50,000 in compensatory damages, punitive or exemplary damages, delay damages, interest

and allowable costs of suit. (See id.)

       28.     Atain declined coverage for the Underling Lawsuit pursuant to the Policy

Designated Products Exclusion and reserved its rights on all bases set forth in the June 28, 2021,

letter, and Atain also reserved all rights under the Policy and applicable law to limit or deny

coverage for the Underlying Lawsuit. (See Ex. 2.)




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                         COUNT I – COVERAGE IS BARRED BY
                       THE DESIGNATED PRODUCTS EXCLUSION

       29.     Atain incorporates and restates every allegation set forth in the preceding

Paragraphs of this Complaint, as if alleged in this Paragraph.

       30.     The Policy contains a CGL Coverage Form that includes the following Insuring

Agreement:

                      SECTION I – COVERAGES

                      COVERAGE A – BODILY INJURY AND
                      PROPERTY DAMAGE LIABILITY

                      1. Insuring Agreement

                          a. We will pay those sums that KAZ Tire
                             becomes legally obligated to pay as damages
                             because of “bodily injury” or “property
                             damage” to which this insurance applies. We
                             will have the right and duty to defend KAZ
                             Tire against “suit” seeking those damages.

                          ...

                          b. This insurance applies to “bodily injury” and
                             “property damage” only if:

                                (1) The “bodily injury” or “property
                                    damage” is caused by an “occurrence”
                                    that takes place in the “coverage
                                    territory”;

                                (2) The “bodily injury” or “property
                                    damage” occurs during the policy period;

(Ex. 1 Policy Form CG 00 01 04 13 at 1.)

       31.     The Policy contains the following definition for “Products-completed operations

hazard”:

                      “Products-completed operations hazard”:

                          a. Includes all “bodily injury” and “property
                             damage” occurring away from premises you

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                own or rent and arising out of “your product”
                or “your work” except:

                (1) Products that are still in your physical
                    possession; or

                (2) Work that has not yet been completed or
                    abandoned. However “your work” will
                    be deemed completed at the earliest of the
                    following times:

                    (a) When all of the work called or in your
                        contract has been completed.

                    (b) When all of the work to be done at the
                        job site has been completed if your
                        contract calls or work at more than
                        one job site.

                    (c) When that part of the work done at a
                        job site has been put to its intended
                        use by any person or organization
                        other than another contractor or
                        subcontractor working on the same
                        project.

                Work that may need service, maintenance,
                correction, repair or replacement, but which
                is otherwise complete, will be treated as
                completed.

             b. Does not include “bodily injury” or “property
                damage” arising out of:

                (1) The transportation of property, unless the
                    injury or damage arises out of a condition
                    in or on a vehicle not owned or operated
                    by you, and that condition was created by
                    the “loading or unloading” of that vehicle
                    by any insured;

                (2) The existence of tools, uninstalled
                    equipment or abandoned or unused
                    materials; or

                (3) Products or operations for which the
                    classification, listed in the Declarations
                    or in a policy Schedule, states that

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                                   products-completed      operations   are
                                   subject to the General Aggregate Limit.

(Id. Policy Form CG 00 01 04 13 at 15.)

        32.    The Policy definition of “your product” provides:

                      “Your product”:

                      a. Means:

                          (1) Any goods or products, other than real
                              property, manufactured, sold, handled,
                              distributed or disposed of by:

                                (a) You;

                                (b) Others trading under your name; or

                                (c) A person or organization whose business
                                    or assets you have acquired; and

                          (2) Containers (other than vehicles), materials,
                              parts or equipment furnished in connection
                              with such goods or products.

                      b. Includes:

                          (1)      Warranties or representations made at
                                   any time with respect to the fitness,
                                   quality, durability, performance or use of
                                   “your product”; and

                          (2)      The providing of or failure to provide
                                   warnings or instructions.

                      c. Does not include vending machines or other
                         property rented to or located for the use of others
                         but not sold.

(Id. at 16.)

        33.    The Policy definition of “your work” provides:

                      “Your work”:

                      a. Means:


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                         (1) Work or operations performed by you or on
                             your behalf; and

                         (2) Materials, parts or equipment furnished in
                             connection with such work or operations.

                      b. Includes:

                         (1) Warranties or representations made at any
                             time with respect to the fitness, quality,
                             durability, performance or use of “your
                             work”: and

                         (2) The providing of or failure to provide
                             warnings or instructions.

(Id. at 16.)

        34.    Underlying Plaintiff’s injury falls within the Policy definition of “products-

completed operations hazard.”

        35.    The Policy contains a Designated Products exclusion (“Designated Products

Exclusion”):

                         EXCLUSION – DESIGNATED PRODUCTS

                      This endorsement modifies insurance provided under
                      the following:

                      COMMERCIAL    GENERAL                 LIABILITY
                      COVERAGE PART

                      PRODUCTS/COMPLETED                 OPERATIONS
                      LIABILITY COVERAGE PART

                      SCHEDULE

                      Designated Product(s):

                      ANY USED OR RECAPPED OR RETREADED
                      TIRES

                      ....

                      This insurance does not apply to “bodily injury” or
                      “property damage” included in the “products-

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                       completed operations hazard” and arising out of any
                       of “your products” shown in the Schedule.

(Ex. 1 Form CG 21 33 11 85.)

       36.     Coverage under the Policy for the Underlying Lawsuit is precluded by the

Designated Products Exclusion because Underlying Plaintiff sustained a “bodily injury” that is

included within the “products-completed operations hazard” that arose out of “your products.”

       37.     The Policy definition of “your products” includes “any good or product . . .

handled” by KAZ Tire.

       38.     The Underlying Complaint alleges that KAZ Tire incorrectly reassembled the tire

and wheel assembly, and therefore, KAZ tire handled the tire and falls within the Policy and

Designated Products Exclusion definition of “your products.” (See Ex. 3 Compl. ¶ 97.)

       39.     Additionally, Underlying Plaintiff’s bodily injury arose out of “any used or

recapped or retreaded tires” because the Underlying Complaint alleges the tire involved in

Underlying Plaintiff’s accident was used, including allegations concerning: (1) the forklift’s

ownership by Plaintiff’s employer, which used it for various projects (see id. ¶ 42); (2) the tire and

wheel assembly’s repair by KAZ Tire a week earlier (see id. ¶¶ 43-44); and (3) the tire becoming

flat in the intervening period between the first and second repair (see id.).

       40.     The Underlying Complaint does not allege that the tire or any other part of the tire

and wheel assembly was new. (See id.)

       41.     Underlying Plaintiff’s bodily injury also “[arose] out of” the tire.

       42.     The Underlying Complaint alleges that KAZ Tire “improperly repaired the tire and

split rim wheel assembly involved in Plaintiff’s accident. Specifically, Kaz Tire mounted the

pneumatic innertube so that the inflation valve for the innertube faced the rear (chassis) side of the

split rim wheel assembly.” (Ex. 3 Compl. ¶ 97.)


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       43.     The Underlying Complaint alleges that KAZ Tire’s negligence consisted of, in part,

“failing to inspect the tire and split rim wheel assembly to confirm that the tire and pneumatic

innertube were properly mounted to the wheel assembly.” (Id. ¶ 101(f).)

       44.     The Underlying Complaint further alleges that Underlying Plaintiff sustained his

injury as “a direct and proximate result” of KAZ Tire’s negligence. (Id. ¶ 102.)

       45.     Thus, the Underlying Complaint alleges that negligence with respect to the

placement of the tire caused Plaintiff’s bodily injury.

       46.     Accordingly, Plaintiff’s bodily injury “[arose] out of” the used tire and is subject to

the Designated Products Exclusion, and Kaz Tire is not entitled to a defense or indemnification

from Atain under the Policy for the Underlying Lawsuit.

        COUNT II – PRESERVATION OF ALL POLICY TERMS, CONDITIONS,
                  EXCLUSIONS AND DEFENSES TO COVERAGE

       47.     Atain incorporates and restates every allegation set forth in the preceding

Paragraphs of this Complaint, as if alleged in this Paragraph.

       48.     Atain reserves its rights on all bases set forth in this Complaint and the Exhibits,

and Atain also reserves its rights under the Policy and applicable law with respect to the Underlying

Lawsuit, or any other past, present of future claim, for any other reasons that may exist or become

apparent in the future. Nothing contained within this pleading should be construed as a waiver by

Atain of any of its rights or defenses under the Policy and applicable law to limit or deny coverage

for this matter or any other matters.

                                        PRAYER FOR RELIEF

       WHEREFORE, Atain respectfully requests that this Court enter judgment in its favor and

against KAZ Tire, Inc. and Kazeem Nabavi d/b/a KAZ Tire Center, declaring and finding that




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Atain has no duty to defend or indemnify KAZ Tire, Inc. and Kazeem Nabavi d/b/a KAZ Tire

Center against the Underlying Lawsuit under the Policy.


                                    Respectfully submitted this 16th day of August 2021,

                                    KAUFMAN DOLOWICH & VOLUCK, LLP


                                    _____________________________________
                                    Christopher J. Tellner, Esquire
                                    Gregory F. Brown, Esquire
                                    Attorneys for Plaintiff
                                    Atain Insurance Company




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